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&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-11-00309-CV

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&nbsp;

ROSE ALVARADO, Appellant

&nbsp;

V.

&nbsp;

BEYER CONSTRUCTION, Appellee

&nbsp;



&nbsp;

On Appeal from County Civil Court at
Law No. 4

Harris County, Texas

Trial Court Cause No. 963131

&nbsp;



&nbsp;

M E M O R
A N D U M&nbsp; &nbsp;O P I N I O N

This appeal is from a judgment signed March 11, 2011.&nbsp; No
clerk’s record has been filed.&nbsp; The clerk responsible for preparing the record
in this appeal informed the court appellant did not make arrangements to pay
for the record.&nbsp; 

On May 13, 2011, notification was transmitted to all parties
of the court’s intention to dismiss the appeal for want of prosecution unless,
within fifteen days, appellant paid or made arrangements to pay for the record
and provided this court with proof of payment.&nbsp; See Tex. R. App. P.
37.3(b).

Appellant has not provided this court with proof of payment
for the record. Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

&nbsp;

Panel consists of Justices
Anderson, Brown, and Christopher.

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